In a suit for land by a transferee of one who has previously litigated the title thereto with the same defendants, where the petitioner's right to title is based on a previous decision of this court between his transferor and the defendants, which decision is attacked as erroneous and not within the jurisdiction of this court, the petition is subject to general demurrer.
        No. 16648. MAY 12, 1949. REHEARING DENIED JUNE 16, 1949.
This is a suit for described land in Coffee County, filed by Chester L. Lankford against Rilza T. Holton and others. The petitioner alleges that he acquired the land by deed from Mattie L. Lankford on August 9, 1948; that — notwithstanding a previous adjudication by this court in Holton v. Lankford, 195 Ga. 317, decided in January, 1943, wherein his grantor, Mattie L. Lankford, was a party, and in which it was decided that she had no title to the land here in question — yet this previous decision, though in effect vesting the title in the defendants in the instant case, was not effective to do so for the reason that the previous decision, for reasons stated, was erroneous and not within the jurisdiction of this court.
The exception is to an order sustaining a general demurrer to the amended petition.
Chester L. Lankford, as the transferee of Mattie L. Lankford, could acquire from her no better title than she had. InHolton v. Lankford, 195 Ga. 317 (24 S.E.2d 292), it was held that Mrs. Mattie L. Lankford had no title, either legal or equitable, to the land in question. In Lankford v. Holton,196 Ga. 631 (27 S.E.2d 310), it was held that questions previously determined by former litigation could not be relitigated. In Lankford v. Holton, 204 Ga. 192
(48 S.E.2d 833), it was again held that title to this land could not be relitigated by Mrs. Mattie L. Lankford. Chester L. Lankford, as transferee of Mrs. Mattie L. Lankford, would stand in no better position than his transferor, and accordingly the trial court did not err in sustaining a general demurrer to the petition.
Judgment affirmed. All the Justices concur. *Page 477 